 Fill in this information to identify the case
 Debtor name          GRCDALLASHOMES LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number          19-41186-btr                                                                                    Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Chase Checking account
        Balance on 5/3/2019                                           Checking account                    9   7   3     7                   $9,686.47
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
                                                                                                                                            $9,686.47
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
Debtor       GRCDALLASHOMES LLC                                                           Case number (if known)      19-41186-btr
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
                                                                                                                                                $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                 $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
Debtor       GRCDALLASHOMES LLC                                                        Case number (if known)    19-41186-btr
             Name

     General description                         Date of the       Net book value of    Valuation method              Current value of
                                                 last physical     debtor's interest    used for current value        debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                      $0.00

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method              Current value of
                                                                   debtor's interest    used for current value        debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                      $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                         page 3
Debtor       GRCDALLASHOMES LLC                                                         Case number (if known)    19-41186-btr
             Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
                                                                    debtor's interest    used for current value        debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                                       $0.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value        debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2005 SmartCar
      Vehicle does not run and Debtor does not have
      the key. Vehicle is parked at 13220 Beach Club
      Road, The Colony, TX 75056                                                                                                  $2,000.00

47.2. 2004 Mitsubishi Fuso Sign Truck
      Vehicle does not run and is parked at 13220
      Beach Club Road, The Colony, Texas                                                                                          $5,000.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
                                                                                                                                  $7,000.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                          page 4
Debtor       GRCDALLASHOMES LLC                                                          Case number (if known)    19-41186-btr
             Name

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.   Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
      Description and location of property           Nature and extent       Net book value of     Valuation method       Current value of
      Include street address or other description    of debtor's interest    debtor's interest     used for current       debtor's interest
      such as Assessor Parcel Number (APN),          in property             (Where available)     value
      and type of property (for example,
      acreage, factory, warehouse, apartment or
      office building), if available.

55.1. 3405 Janlyn, Farmers Branch, TX                Real Property                                                                $300,000.00
55.2. 2205 Oak Grove Parkway, Little Elm,
      TX                                             Real Property                                                                  $90,000.00
55.3. 4430 Chapman, The Colony, TX                   Real Property                                                                $130,000.00
55.4. 2029 Chatsworth, Carrollton, TX                Real Property                                                                $235,000.00
55.5. 2408 Jewell Drive, Arlington, TX               Real Property                                                                $180,000.00
55.6. 6012 Mayes, The Colony, Texas                  Real Property                                                                $185,000.00
55.7. 1005 Shady Lane, Keller, TX                    Real Property                                                                $200,000.00
55.8. 7629 Lakeview, The Colony, TX                  Real Property                                                                  $90,000.00
55.9. 1418 Lakeshore, Oak Point, TX                  Real Property                                                                $160,000.00
55.10. 2046 Greenstone, Carrollton, TX               Real Property                                                                $275,000.00
55.11. 203 Oak Street, Highland Village, TX          Real Property                                                                $200,000.00
55.12. 4369 Sunset Circle, The Colony, TX            Real Property                                                                  $50,000.00

55.13. 6900 Elliott, The Colony, TX
      Debtor has a 1/3 interest in the
      property
      Current value of the property is
      estimated to be $150,000                       Real Property                                                                  $50,000.00
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                $2,145,000.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 5
Debtor       GRCDALLASHOMES LLC                                                          Case number (if known)     19-41186-btr
             Name

     General description                                           Net book value of       Valuation method              Current value of
                                                                   debtor's interest       used for current value        debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

     www.grctexas.com
     Website is not accessible and is not running as
     hosting fees have not been paid                                                                                                     $0.00
62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                         $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

     Cause of action against Sarah Clark for breach of contract on purchase of property & repairs
     to same on 4208 Ireland, The Colony, TX                                                                                         $7,500.00
     Nature of claim
     Amount requested


     Cause of action for breach of contract against Tisha and William Stender regarding 5212 Kisor,
     The Colony, TX 75056                                                                                                          $100,000.00
     Nature of claim
     Amount requested




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                           page 6
Debtor       GRCDALLASHOMES LLC                                                     Case number (if known)   19-41186-btr
             Name

     Cause of action against Jose Garcia for failure to perform repairs on 6012 Mayes                                          $500.00
     Nature of claim
     Amount requested


     Cause of action against Clay Stapp for non-performance of settlement                                                   $300,000.00
     Nature of claim
     Amount requested


     Cause of action against Tim Autry for breach of contract and fraud for monies loaned to him by
     Kaz Dashmandi. GRCDallasHomes has a 1/3 interest in the property located at 6900 Elliott.                               $30,000.00
     Nature of claim
     Amount requested


75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                            $438,000.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                         Schedule A/B: Assets -- Real and Personal Property                                   page 7
Debtor           GRCDALLASHOMES LLC                                                                                  Case number (if known)         19-41186-btr
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                              $9,686.47
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                        $7,000.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................      $2,145,000.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +        $438,000.00

91. Total. Add lines 80 through 90 for each column.                        91a.            $454,686.47           +     91b.         $2,145,000.00


                                                                                                                                                                $2,599,686.47
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                        page 8
 Fill in this information to identify the case:
 Debtor name          GRCDALLASHOMES LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number          19-41186-btr                                                                                 Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Statebridge                                      subject to a lien                                    $108,038.21              $300,000.00

          Creditor's mailing address             3405 Janlyn Lane Farmers Branch TX 75234
          5680 Greenwood Plaza Blvd., Suite 100 SDescribe the lien
                                                           Mortgage
                                                           Is the creditor an insider or related party?
          Greenwood Village CO            80111                 No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.
1) Statebridge; 2) Touba Daneshmandi.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                              $1,585,209.01


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
Debtor       GRCDALLASHOMES LLC                                                              Case number (if known) 19-41186-btr

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Statebridge                                         subject to a lien                                    $153,456.66             $185,000.00

         Creditor's mailing address             6012 Mayes Place Colony, TX 75065
         5680 Greenwood Plaza Blvd., Suite 100 SDescribe the lien
                                                             Mortgage
                                                             Is the creditor an insider or related party?
         Greenwood Village CO             80111                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
1) Statebridge; 2) Touba Daneshmandi.
                Yes. The relative priority of creditors is
                specified on lines

Foreclosure set for May 7, 2019

 2.3     Creditor's name                                     Describe debtor's property that is
         Statebridge                                         subject to a lien                                    $174,818.45             $200,000.00

         Creditor's mailing address                          1005 Shady Lane Keller, TX 76248
         5680 Greenwood Plaza Blvd., Suite 100 SDescribe the lien
                                                             Mortgage
                                                             Is the creditor an insider or related party?
         Greenwood Village CO             80111                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
1) Statebridge; 2) Touba Daneshmandi.
                Yes. The relative priority of creditors is
                specified on lines

Forclosure set for May 7, 2019




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
Debtor       GRCDALLASHOMES LLC                                                              Case number (if known) 19-41186-btr

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.4     Creditor's name                                     Describe debtor's property that is
         Statebridge                                         subject to a lien                                    $107,000.00             $190,000.00

         Creditor's mailing address             Home @4437 Jenkins, The Colony, TX
         5680 Greenwood Plaza Blvd., Suite 100 SDescribe the lien
                                                             Mortgage
                                                             Is the creditor an insider or related party?
         Greenwood Village CO             80111                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

Foreclosure set 5/7/2019




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
Debtor       GRCDALLASHOMES LLC                                                              Case number (if known) 19-41186-btr

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.5     Creditor's name                                     Describe debtor's property that is
         Touba Daneshmandi                                   subject to a lien                                    $900,000.00           $2,145,000.00

         Creditor's mailing address                          Home Inventory
         13220 Beach Club Rd                                 Describe the lien
                                                             Business loan
                                                             Is the creditor an insider or related party?
         The Colony                 TX    75056                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
For 1005 Shady Lane, Keller, TX: See 2.3. For
1418 Lakeshore, Oak Point, TX: 1) Touba
Daneshmandi. For 2029 Chatsworth,
Carrollton, TX: 1) Touba Daneshmandi. For
203 Oak Street, Highland Village, TX: 1) Touba
Daneshmandi. For 2046 Greenstone,
Carrollton, TX: 1) Touba Daneshmandi; 2)
Wells Fargo Mortgage. For 2205 Oak Grove
Parkway, Little Elm, TX: 1) Touba
Daneshmandi. For 2408 Jewell Drive,
Arlington, TX: 1) Touba Daneshmandi. For
3405 Janlyn, Farmers Branch, TX: See 2.1. For
4369 Sunset Circle, The Colony, TX: 1) Touba
Daneshmandi. For 4430 Chapman, The
Colony, TX: 1) Touba Daneshmandi. For 6012
Mayes, The Colony, Texas: See 2.2. For 6900
Elliott, The Colony, TX: 1) Touba Daneshmandi.
For 7629 Lakeview, The Colony, TX: 1) Touba
Daneshmandi.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4
Debtor       GRCDALLASHOMES LLC                                                              Case number (if known) 19-41186-btr

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.6     Creditor's name                                     Describe debtor's property that is
         Wells Fargo Mortgage                                subject to a lien                                    $141,895.69             $275,000.00

         Creditor's mailing address                          2046 Greenstone, Carrollton, TX
         PO Box 10335                                        Describe the lien
                                                             Mortgage
                                                             Is the creditor an insider or related party?
         Des Moines                 IA       50306                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          0    3      6   8   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.5

Mortgage is not in the name of GRCDallasHomes




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 5
Debtor       GRCDALLASHOMES LLC                                                        Case number (if known) 19-41186-btr

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         Laura Barker                                                                  Line    2.4
         Padgett Law Group
         6267 Old Water Oak Road
         Suite 203
         Tallahassee                                  FL       32312


         Laura Barker                                                                  Line    2.3
         Padgett Law Group
         6267 Old Water Oak Road
         Suite 203
         Tallahassee                                  FL       32312


         Laura Barker                                                                  Line    2.2
         Padgett Law Group
         6267 Old Water Oak Road
         Suite 203
         Tallahassee                                  FL       32312


         Laura Barker                                                                  Line    2.1
         Padgett Law Group
         6267 Old Water Oak Road
         Suite 203
         Tallahassee                                  FL       32312




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 6
 Fill in this information to identify the case:
 Debtor              GRCDALLASHOMES LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number         19-41186-btr                                                                              Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the               $7,000.00               $0.00
                                                                claim is: Check all that apply.
Dallas County Tax Assessor
                                                                    Contingent
John R. Ames, CTA                                                   Unliquidated
500 Elm Street                                                      Disputed

                                                                Basis for the claim:
Dallas                                TX      75202-3304        Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



     2.2   Priority creditor's name and mailing address         As of the petition filing date, the              $25,000.00               $0.00
                                                                claim is: Check all that apply.
Denton County Tax Assessor/Collector
                                                                    Contingent
1505 E. McKinney Street                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Denton                                TX      76209             Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
Debtor       GRCDALLASHOMES LLC                                                      Case number (if known)    19-41186-btr

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


  2.3    Priority creditor's name and mailing address       As of the petition filing date, the               $11,000.00             $0.00
                                                            claim is: Check all that apply.
Tarrant County Tax Assesor-Collector
                                                                Contingent
100 E.Weatherford                                               Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Fort Worth                         TX     76196             Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2
Debtor        GRCDALLASHOMES LLC                                                       Case number (if known)      19-41186-btr

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                  $340,000.00
                                                                   Check all that apply.
Bryan Wing Cheung Poon                                                 Contingent
c/o Kevin G. Herd                                                      Unliquidated
                                                                       Disputed
801 Cherry Street, Suite 1010
                                                                   Basis for the claim:
Fort Worth                               TX       76102            Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          3    4    3   1                Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $73,610.44
                                                                   Check all that apply.
Chase Credit Card                                                      Contingent
4895 State Highway 121                                                 Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
The Colony                               TX       75056            Business Credit Card

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          5    1    5   0                Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $28,778.97
                                                                   Check all that apply.
Floor Expert                                                           Contingent
7525 Main #120                                                         Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
The Colony                               TX       75056            Flooring

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          7    1    1   5                Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
John Caldwell                                                          Contingent
c/o Roger M. Yale                                                      Unliquidated
                                                                       Disputed
1417 E. McKinney Street
Suite 220                                                          Basis for the claim:
Denton                                   TX       76209            Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes
law suit




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3
Debtor       GRCDALLASHOMES LLC                                                     Case number (if known)      19-41186-btr

 Part 2:        Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $34,000.00
                                                                Check all that apply.
Julie Ann Pettit                                                    Contingent
2101 Cedar Springs Road                                             Unliquidated
                                                                    Disputed
Suite 1540
                                                                Basis for the claim:
Dallas                                 TX       75201           Attorney Fees

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $16,375.75
                                                                Check all that apply.
Khavari & Moghadassi                                                Contingent
Attn: Rod B. Khavari                                                Unliquidated
                                                                    Disputed
3000 Keller Springs Rd.
Suite 200                                                       Basis for the claim:
Carrollton                             TX       75006           Attorney Fees

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Special Counsel to Debtor

   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $107,000.00
                                                                Check all that apply.
Reliant Title                                                       Contingent
6850 North Shiloh Rd                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Garland                                TX       75044           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Re: 4437 Jenkins, The Colony, Texas

   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $175,000.00
                                                                Check all that apply.
Robert Saldeen                                                      Contingent
4217 Malone Ave                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
The Colony                             TX       75056           Investment loan

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
Debtor       GRCDALLASHOMES LLC                                                     Case number (if known)      19-41186-btr

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $107,000.00
                                                                Check all that apply.
Sophia Hiten                                                        Contingent
4437 Jenkins                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Colony                                 TX       75056           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5
Debtor        GRCDALLASHOMES LLC                                                           Case number (if known)   19-41186-btr

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Molly Mitchell                                                        Line       3.9
         Almanza Blackburn Dickie & Mitchell                                          Not listed. Explain:
         230 S. Capital of Texas Highway
         Bldg. H
         Austin                        TX      78746


4.2      Roger M. Yale                                                         Line       3.4
         1417 E. McKinney St.                                                         Not listed. Explain:
         Suite 220


         Denton                        TX      76209




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 6
Debtor      GRCDALLASHOMES LLC                                                Case number (if known)      19-41186-btr

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                 $43,000.00

5b. Total claims from Part 2                                                              5b.   +            $881,765.16


5c. Total of Parts 1 and 2                                                                5c.                $924,765.16
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 7
 Fill in this information to identify the case:
 Debtor name         GRCDALLASHOMES LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number         19-41186-btr                             Chapter      11                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Contract to purchase 3405 Janlyn                James Hearon
          or lease is for and the       Lane, Farmers Branch, TX                        c/o Rebecca Davis
          nature of the debtor's        Contract to be ASSUMED
          interest                                                                      Fathom Realty, LLC
                                                                                        6841 Virginia Pkwy #103-448
          State the term remaining
          List the contract
          number of any
                                                                                       McKinney                            TX            75071
          government contract

2.2       State what the contract       Contract to purchase 1418                       North Forest Financial, LLC
          or lease is for and the       Lakeshore Blvd., Little Elm, TX                 3699 McKinney Avenue
          nature of the debtor's        Contract to be ASSUMED
          interest

          State the term remaining
          List the contract
                                                                                       Dallas                              TX            75204
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
 Fill in this information to identify the case:
 Debtor name         GRCDALLASHOMES LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number         19-41186-btr                                                                                   Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Kazem Daneshmandi               13220 Beach Club Road                                  John Caldwell                         D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       The Colony                     TX      75056
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
 Fill in this information to identify the case:


 Debtor Name GRCDALLASHOMES LLC

 United States Bankruptcy Court for the:                   EASTERN DISTRICT OF TEXAS

 Case number (if known): 19-41186-btr                                                                                                                                               Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                 $2,145,000.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                   $454,686.47
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                 $2,599,686.47
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                    $1,585,209.01
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                       $43,000.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F.........................................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +            $881,765.16
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..............................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $2,509,974.17




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
 Fill in this information to identify the case and this filing:
 Debtor Name         GRCDALLASHOMES LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number         19-41186-btr
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 05/31/2019                       X /s/ Kazem Daneshmandi
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Kazem Daneshmandi
                                                             Printed name
                                                             Member
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
